             Case MDL No. 2979 Document 9 Filed 11/03/20 Page 1 of 2



                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                          MULTIDISTRICT LITIGATION


IN RE NATIONAL RIFLE ASSOCIATION                              NOTICE OF APPEARANCE
BUSINESS EXPENDITURES LITIGATION                              MDL Docket No. 2979


TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       PLEASE TAKE NOTICE that in compliance with Rule 4.1(c), R.P.J.P.M.L., 199 F.R.D.

425, 431 (2001), MONICA A. CONNELL, an Assistant Attorney General in the office of

LETITIA JAMES, Attorney General of the State of New York, whose address, phone number

and email are set forth below, appears as counsel of record for and is authorized to receive

service of all pleadings, notices, orders, and other papers relating to practice before the United

States Judicial Panel on Multidistrict Litigation, on behalf of LETITIA JAMES, in the above-

referenced matter. Attorney General James is the defendant in the matter National Rifle

Association of America v. Letitia James, NDNY Case No. 20-cv-0089, one of the actions sought

to be consolidated herein. Please take further notice that this appearance is without waiver or

prejudice to assert any and all defenses that may be applicable.

Dated: New York, New York
       November 3, 2020
                                              LETITIA JAMES
                                              Attorney General of the State of New York
                                              Attorney for Defendant Letitia James
                                              By:



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             Case MDL No. 2979 Document 9 Filed 11/03/20 Page 2 of 2



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Appearance was

electronically served via the Court’s electronic case filing system upon all counsel of record on

this 3rd day of November 2020.

                                                     _____________________________
                                                           Monica A. Connell




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